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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

JOHN DOE                                          )
                                                  )          Case No.
       v.                                         )          17-cv-748
                                                  )
COLUMBIA COLLEGE CHICAGO,                         )          JUDGE
et. al.,                                          )
                                                  )
               Defendants                         )
                                                  )
                                                  )



                  Plaintiff’s Motion to Allow the Parties to Use Pseudonyms


       Plaintiff John Doe (“Doe”) respectfully requests permission to use pseudonyms to

represent himself, the female defendant in this case Jane Roe (“Roe”), and the student witnesses

identified in the Complaint because the potential harm to the individuals outweighs the possible

prejudice to Defendants of concealment. Doe v. City of Chicago, 360 F.3d 667, 669 (7th

Cir.2004) (“[t]he presumption the parties’ identities are public information, and the possible

prejudice to the opposing party from concealment, can be rebutted by showing that the harm to

the [party requesting anonymity] . . . exceeds the likely harm from concealment.”). In the

alternative, John Doe requests this Court, at a minimum, allow pseudonyms until dispositive

motions are ruled on. See, Malibu Media, LLC v. Reynolds, No. 12 C 6772, 2013 WL 870618, at

**7-8 (N.D. Ill. Mar. 7, 2013) (allowing the case to proceed using pseudonyms with

reconsideration of the decision following the ruling on dispositive motions). See also, EEOC v.

SPOA, LLC, 2013 U.S. Dist. Lexis 148145, *12 (D. Md., Oct. 15, 2013)(allowing Title VII

plaintiff to remain anonymous in court filings, but requiring plaintiff to use her legal name if jury




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trial occurs) Doe v. De Amigos LLC, 2012 U.S. Dist. Lexis 190501, *25-28 (D.D.C., Apr. 30,

2012)(same).

       Pseudonyms have been found appropriate in cases with similar facts to those presented

here. Pursuant to the case of Doe v. Elmbrook School District, the Court should weigh the

parties’ privacy interests against the presumption of open judicial proceedings in evaluating

motions to proceed under pseudonyms. See, 658 F.3d 710, 722 (7th Cir. 2011). In balancing

these interests, the Seventh Circuit allows the use of fictitious names when necessary to protect

the privacy of children, rape victims, and other particularly vulnerable parties or witnesses. Doe

v. Blue Cross & Blue Shield United of Wis., 112 F.3d 869, 872 (7th Cir. 1997) (allowing

pseudonyms to protect the plaintiff’s health); Doe v. Trp Acquisition, Inc. No. 16C3635, 2016

WL 3671505, at *2 (N.D. Ill. July 11, 2016) (allowing pseudonyms in a sexual harassment case

because the allegations involved an alleged sexual assault).

       Other federal circuit courts have elaborated on these factors and identified the following

relevant factors: (1) whether the plaintiff seeking anonymity is suing to challenge governmental

activity; (2) whether prosecution of the suit will compel the plaintiff to disclose information ‘of

the utmost intimacy; (3) whether the litigation compels plaintiff to disclose an intention to violate

the law, thereby risking criminal prosecution; (4) whether the plaintiff would risk injury if

identified; and (5) whether the plaintiff is a child. Id.; see also, Doe v. Porter, 370 F. 3d 558,

560 (6th Cir. 2004) (citing Doe v. Stegall, 653 F.2d 180, 185-86 (5th Cir. 1981)) (holding that the

parties’ privacy interests outweighed the presumption of open judicial proceedings in evaluating

motions to proceed under pseudonyms in cases involving sexual assault allegations); Roe v. St.

Louis Univ., 2009 WL 910738 (E.D. Mo. Apr. 2, 2009) (allowing plaintiff to use a pseudonym

because the interest in preserving a student's privacy through the use of a pseudonym outweighed




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the public interest in ascertaining the student’s true identity where the allegations in the

complaint against a university included rape allegations, which was a personal matter of the

utmost intimacy).

       These factors strongly counsel in favor of permitting Doe and Roe to use pseudonyms in

this case. First, prosecution of this lawsuit will compel the disclosure of information ‘of the

utmost intimacy’ in the form of explicit details of Doe and Roe’s sexual activities. Likewise,

while Doe and Roe are not technically “children,” both are young college students. Further,

while Doe is not living in Illinois, his Complaint details threats of physical harm to himself and

his wife as a result of Roe’s false allegations against Doe. Finally, there is no risk of prejudice to

the named party, Columbia College Chicago (“CCC”). To the contrary, permitting Roe and Doe

to use a pseudonym will further CCC’s interest in maintaining the confidentiality of its

disciplinary proceedings, particularly in the context of investigations into charges of sexual

misconduct.

       In addition, factors recognized by other courts strongly favor the use of pseudonyms in

this case. These factors include: (1) “whether identification presents other harms and the likely

severity of those harms, including whether the injury litigated against would be incurred as a

result of the disclosure of the [party’s] identity”; (2) “whether the [party] is particularly

vulnerable to the possible harms of disclosure, particularly in light of his [or her] age;

(3) “whether the plaintiff’s identity has thus far been kept confidential”; (4) “whether the

public’s interest in the litigation is furthered by requiring the plaintiff to disclose his identity”;

and (5) “whether . . . there is an atypically weak public interest in knowing the litigants’

identities”; (6) “whether there are any alternative mechanisms for protecting the confidentiality




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of the [parties].” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189-90 (2d Cir. 2008)

(citations and quotation marks omitted). Each of these factors are present here.

       First, revealing Doe and Roe’s identities would create the very harm this lawsuit is

brought to avoid: the irreparable reputational injury of having an unfounded complaint of sexual

misconduct brought against Doe. Similarly, both Roe and Doe are vulnerable to the possible

harms of disclosure: they would be instantly identifiable through Internet searches and would

carry the stigma of having their sexual activities aired publicly, causing substantial, irreparable

harm to their future educational opportunities, job searches, and family and personal

relationships.

       This type of harm is likely to occur given the current media frenzy regarding sexual

assaults on college campus which is destroying the lives of falsely accused students. See e.g.,

See e.g., Emily D. Safko, Are Campus Sexual Assault Tribunals Fair?: The Need For Judicial

Review and Additional Due Process Protections In Light of New Case Law, 84 Fordham L. Rev.

2289 (2016), pgs. 2304-5 (discussing universities’ concerns regarding OCR enforcement actions

that commentators believe “incentivizes schools to hold accused students accountable by

implementing and conducting proceedings that are unfairly stacked against the accused.”). Id.,

pgs.2320-24 (addressing same); Complaint, Exhibit P (containing Open Letter From Sixteen

Members of Penn Law School Faculty (Feb. 17. 2014) which states in part: “Although we

appreciate the efforts of Penn and other universities to implement fair procedures, particularly in

light of the financial sanctions threatened by OCR, we believe that OCR’s approach exerts

improper pressure upon universities to adopt procedures that do not afford fundamental

fairness.”); Barclay Sutton Hendrix, A Feather On One Side, A Brick On The Other: Tilting The

Scale Against Males Accused of Sexual Assault In Campus Disciplinary Proceedings, 47 Ga. L.




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Rev. 591, (2013); Stephen Henrick, A Hostile Environment for Student Defendants: Title IX and

Sexual Assault on College Campuses, 40 N. Ky. L. Rev. 49 (2013); Complaint, Exhibit Q

(containing Rethink Harvard’s Sexual Harassment Policy, LETTER TO EDITOR, BOSTON

GLOBE, Oct. 15, 2015); Janet Halley, Trading the Megaphone for the Gravel Gavel in Title IX

Enforcement, HARV. L. REV. F. 103, 103-17, (2014); Samantha Harris, Campus Judiciaries on

Trial:   An   Update    from    the   Court,   HERITAGE        FOUNDATION,         Oct.   6.   2015;

http://www.heritage.org/research/reports/2015/10/campus-judiciaries-on-trial-an-update-from-

the-courts (accessed 1/4/17); Janet Napolitano, “Only Yes Means Yes”: An Essay on University

Policies Regarding Sexual Violence and Sexual Assault, Yale Law and Policy Review Volume

33; Issue 2 (2015); Robin Wilson, Presumed Guilty, CHRONICLE OF HIGHER EDUCATION

(Sept. 3. 2014) http://chronicle.com/article/Presumed-Guilty/148529/?cid=a&utm_medium=en

(accessed 1/4/17) (noting: “Under current interpretations of colleges’ legal responsibilities, if a

female student alleges sexual assault by a male student after heavy drinking, he may be

suspended or expelled, even if she appeared to be a willing participant and never said no. That is

because in heterosexual cases, colleges typically see the male student as the one physically able

to initiate sex, and therefore responsible for gaining the woman’s consent.”); Dershowitz and

Other Professors Decry ‘Pervasive and Severe Infringement’ of Student Rights, Jacob Gershman

(May 18, 2016), http://blogs.wsj.com/law/2016/05/18/dershowitz-and-other-professors-decry-

pervasive-and-severe-infringement-of-student-rights/ (accessed 1/4/17).

         Moreover, there is no countervailing public interest in forcing Doe and Roe to be

identified publicly. To the contrary, denying the use of pseudonyms would chill the public’s

interest in protecting the reputations of citizens exposing college employees who seek to

unlawfully destroy the reputations of their citizen students. Finally, there is no better alternative




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mechanism to keep the names of the students confidential. For, the alternative to pseudonyms -

filing documents under seal - would limit, rather than promote, the overall transparency of these

proceedings.

       This may be why courts across the country permit students filing sexual misconduct

lawsuits against universities to proceed anonymously.           See e.g., John Doe v. Salisbury

University, 2015 U.S. Dist. Lexis 70982 (D.C. Md., June 2, 2015)(rejecting motion to dismiss a

Title IX claim filed by a male student proceeding under a John Doe pseudonym); John Doe v.

Washington and Lee University, 2015 U.S. Dist. Lexis 102426 (W.D. Va., Aug. 5, 2015)(same);

John Doe v. University of South Florida Bd. Of Trustees, 2015 U.S. Dist. Lexis 69804 (M.D.

Fla., May 29, 2015)(same); Doe v. University of the South, 687 F. Supp. 2d 744 (E.D. Tenn.

2009)(same); Doe v. New York University, 786 N.Y.S.2d 892, 904 (N.Y. Sup. Ct. 2004) (stating

that in lieu of sealing court filings, court records could be amended by replacing plaintiffs’

names with pseudonyms, so as to protect plaintiffs’ privacy).

       For the foregoing reasons, Doe respectfully requests this Court execute the attached

proposed order which states: (a) Plaintiff will be referred to as Doe; (b) the female Defendant in

this case – Roe - shall be referred to as Roe; (c) CCC students involved in this proceeding will be

referred by their first name only; and (d) Parties will file under seal with this Court un-redacted

copies of any redacted exhibits attached to any court filing.

       In the alternative, Doe requests this Court allow pseudonyms at least until this Court

resolves any dispositive motions. Or, if this Court finds John and Roe may not proceed under

pseudonyms, Doe respectfully requests leave to file an amended pleading that contains the names

and addresses of these individuals, rather than have the suit dismissed.

       A proposed order granting this motion is filed herewith.




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                           Respectfully submitted,

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